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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )           Case No. 4:09CR3069-2
                      Plaintiff,                )
                                                )
       vs.                                      )           TENTATIVE
                                                )           FINDINGS
KELVIN L. STINSON,                              )
                                                )
                      Defendant.                )

        I am in receipt of the revised presentence investigation report and addendum in this
case. Except for the defendant’s objection to obstruction of justice and role in the offense
(filing 109) and the government’s objection to drug quantity, granting the defendant an
acceptance of responsibility reduction and the court’s method of varying in accordance with
S. 1789 (filing 114), there are no objections or motions for departure or variance.

       IT IS ORDERED that:

       (1)     The undersigned will consult and follow the Guidelines to the extent permitted
and required by United States v. Booker, 543 U.S. 220(2005) and subsequent cases. See,
e.g., Gall v. U.S., --- S.Ct. ----, 2007 WL 4292116 (2007). In this regard, the undersigned
gives notice that, unless otherwise ordered, he will (a) give the advisory Guidelines such
weight as they deserve within the context of each individual case and will filter the
Guidelines' general advice through §3553(a)'s list of factors1; (b) resolve all factual disputes
relevant to sentencing by the greater weight of the evidence and without the aid of a jury;
(c) impose upon the government the burden of proof on all Guideline-enhancements; (d)
impose upon the defendant the burden of proof on all Guideline-mitigators; (e) depart from
the advisory Guidelines, if appropriate, using pre-Booker departure theory; and (f) in cases
where a departure using pre-Booker departure theory is not warranted, deviate or vary from
the Guidelines when there is a principled reason which justifies a sentence different than that
called for by application of the advisory Guidelines.2



       1
        However, I will no longer give the Guidelines “substantial weight.”
       2
        See note 1.
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       (2)    Regarding the objections:

              (A)     With exception noted below, all objections will be resolved at an
                      evidentiary hearing with sentencing to follow. A total of 1.5 hours is
                      allocated to the evidentiary hearing and sentencing. My judicial
                      assistant shall reschedule sentencing as is necessary.

              (B)     To the extent that the government objects to the method by which I am
                      varying downward with S. 1789 in mind, the government
                      misunderstands my approach. I am not ignoring relevant conduct
                      because I convert crack to powder by using the low number of the base
                      offense level for the actual amount of crack as the starting point. To
                      the degree that the defendant distributed more than that low-end
                      amount, such a fact may used at sentencing and may justify a sentence
                      at the higher end of the range for powder, or, indeed, above the range
                      for powder. As counsel for the government well knows (because I
                      shared the development of the instant method with Assistant United
                      States’ Attorneys and others as it was developed 3), any other method
                      (such as using the actual weight to begin the conversion from crack to
                      powder) results in anomalous results. This is because the crack
                      Guidelines, as they are presently structured, are algorithmic, and not
                      liner, to account for the artificial nature of the statutory minimums.
                      Since I am presently bound by the artificially high statutory minimums,
                      but I must have a uniform starting point for variance purposes, the use
                      of the low-end of the present base offense level for the crack
                      attributable to the defendant is the best and only option I have available
                      to me.4 As made, the government’s objection to the method of


      Indeed, the government candidly, but perhaps with a slight sneer, concedes that “[f]rom
       3


a number of interesting emails we have had the opportunity to read about the evolution of the
method now being employed by the Probation Office . . . .” (Filing 115 at CM/ECF p. 4
(emphasis in original).

       I note that the Sentencing Commission has been contacted by our probation office, but the
       4


Sentencing Commission staff is unwilling to share the method by which S. 1789 would be

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                      variance proposed in the presentence report is denied.5

       (3)    Except to the extent (if at all) that I have sustained an objection or granted a
motion or reserved an issue for later resolution in the preceding paragraph, the parties are
herewith notified that my tentative findings are that the presentence report is correct in all
respects.

        (4)    If any party wishes to challenge these tentative findings, said party shall, as
soon as possible, but in any event at least five (5) business days before sentencing, file in the
court file and serve upon opposing counsel and the court a motion challenging these
tentative findings, supported by (a) such evidentiary materials as are required (giving due
regard to the requirements of the local rules of practice respecting the submission of
evidentiary materials), (b) a brief as to the law and (c) if an evidentiary hearing is requested,
a statement describing why an evidentiary hearing is necessary and how long such a hearing
would take.

       (5)   Absent submission of the information required by the preceding paragraph of
this order, my tentative findings may become final and the presentence report may be
adopted and relied upon by me without more.

       (6)    Unless otherwise ordered, any motion challenging these tentative findings
shall be resolved at sentencing.

       May 18, 2010.

                                               BY THE COURT:
                                               Richard G. Kopf
                                               United States District Judge




implemented by the Commission if adopted by the House.

       However, if, at sentencing, the government has a better and fairer method that
       5


implements the evident intent of the unanimous Senate Judiciary Committee (including a former
United States Attorney) to impose a ratio of 18 to 1 I will be pleased to hear it.

                                              -3-
